        Case 2:19-cv-02058-CAS-AGR Document 3 Filed 03/20/19 Page 1 of 1 Page ID #:72
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    Immigrant Defenders Law Center, et al.
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
Immigrant Defenders Law Center, Western State                                 CASE NUMBER:
College of Law Immigration Clinic, Public Counsel,
and Esperanza Immigrant Rights Project at Catholic
                                                              Plaintiff(s),
Charities,                     v.
United States Immigration and Customs
                                                                                             CERTIFICATION AND NOTICE
Enforcement and United States Department of
                                                                                               OF INTERESTED PARTIES
Homeland Security,                                                                                 (Local Rule 7.1-1)
                                                             Defendant(s)


TO:      THE COURT AND ALL PARTIES OF RECORD:
                                                     Immigrant Defenders Law Center, Western State College of Law Immigration Clinic,
The undersigned, counsel of record for Public Counsel, and Esperanza Immigrant Rights Project at Catholic Charities
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                   CONNECTION / INTEREST




         March 20, 2019                                    /s/ Robert J. Liubicic
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Immigrant Defenders Law Center, et al.



CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
